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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiffs,                            4:18CR3075
     vs.
                                                               ORDER
HERBERT B. KINCHEN,

                     Defendant.

      Defendant has moved to continue Defendant’s change of plea hearing.
(Filing No. 65. As explained by counsel, the parties need additional time to
engage in plea discussions The motion to continue is unopposed. Based on the
representations of counsel, the court finds the motion should be granted.
Accordingly,

      IT IS ORDERED:

      1)       Defendant’s motion to continue, (Filing No. 65), is granted.

      2)       Defendant's plea hearing will be held before the undersigned
               magistrate judge on February 12, 2019 at 3:00 p.m.. Defendant is
               ordered to appear at this hearing.

      3)       For the reasons stated by counsel, the Court finds that the ends of
               justice served by continuing Defendant's plea hearing outweigh the
               best interest of Defendant and the public in a speedy trial.
               Accordingly, the time between today's date and the district court
               judge's acceptance or rejection of the anticipated plea of guilty shall
               be excluded for speedy trial calculation purposes. 18 U.S.C. §
               3161(h)(7). Failing to timely object to this order as provided under
               this court’s local rules will be deemed a waiver of any right to later
               claim the time should not have been excluded under the Speedy
               Trial Act.

      January 7, 2019.                         BY THE COURT:

                                               s/ Cheryl R. Zwart
                                               United States Magistrate Judge
